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Fu.Eo or r)J_§€¢ D.e`.

l(>;;):g:s Report and Order Terminating Probationf
Supervised Release »-. ;-.~
Prior to Original Expiration Date 05 JUN 2 l PH o‘ l `J
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United States District Court

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WESTERN DISTRICT OF TENNESSEE

UNITED sTATEs 01= AMERICA Crim. No. 2:01CR20058-02
V.

Anita McClelland

On October 12, 2001, the above named was placed on Probation for a period of five (5) years. She has
complied with the rules and regulations of supervision and is no longer in need of supervision. It is accordingly

recommended that she be discharged from Probation.

Respectfully submitted,

Nicole D. Peterson
United States Probation Oflicer

ORDER OF THE COUR'{`

Pursuant to the above report, it is ordered that the defendant be discharged from Probatien and that the
proceedings in the case be terminated

\4>
Dated this z f day 0

 

 

nit States District Judge \ 5
Th!s document entered on the docket ` HM`

with Flu|e 55 and/or 32(b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 68 in
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Paul M. O'Brien

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Julia Gibbons
US DISTRICT COURT

